This cause was on the October, 1911, calendar of this court and submitted on the record.
There is no evidence in the record of an appeal having been taken from the judgment or an order denying the defendant a new trial, if such an order was made. Obviously, therefore, this court has not acquired jurisdiction to review the record.
Moreover, there are no briefs filed in the cause, and, if an appeal had been taken, the same would have to be dismissed for a failure of appellant to file a brief, assuming that he would have omitted to do so had he taken an appeal either from the judgment or the order denying him a new trial, if a motion of that character was made and denied. (People v. Perry, 16 Cal.App. 771, [117 P. 1036].)
For the foregoing reasons, the record will have to be stricken from the files of the court, and it is so ordered.
Chipman, P. J., and Burnett, J., concurred.